
719 S.E.2d 31 (2011)
STATE of North Carolina
v.
Timothy Alfred SWEAT.
No. 472A11.
Supreme Court of North Carolina.
December 8, 2011.
Margaret Force, Assistant Attorney General, for State of North Carolina.
Russell Joseph Hollers, Durham, for Sweat, Timothy Alfred.
Ronald L. Moore, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by State of NC on the 7th of November 2011 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of December 2011."
Upon consideration of the petition filed on the 7th of November 2011 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th of December 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
